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              13                        UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF CALIFORNIA
              14
              15                                             Case No. 3:15-md-02670-JLS-MDD
                 IN RE PACKAGED SEAFOOD
              16 PRODUCTS ANTITRUST                          MDL No. 2670
                 LITIGATION
              17                                             DEFENDANTS’ MEMORANDUM
                                                             OF POINTS AND AUTHORITIES
              18 This Document Relates To:                   IN SUPPORT OF MOTION TO
                                                             EXCLUDE TESTIMONY OF DR.
              19                                             GARY HAMILTON
                 (1) Direct Purchaser Plaintiffs
              20                                             PROPOSED REDACTED
                                                             VERSION
              21
                                                             Special Briefing Schedule Ordered
              22
                                                             Hearing:
              23                                             Date: February 12, 2020
                                                             Time: 9:00 a.m.
              24                                             Place: Courtroom 4D
                                                             Judge: Hon. Janis L. Sammartino
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                                                                 DEFS.’ MEM. OF P. & A. IN SUPP. OF MOT. TO
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                   1 I.      INTRODUCTION
                   2         As the motions for summary judgment filed by Dongwon Industries Co.,
                   3 Ltd. (“DWI”) and Thai Union Group PCL (“TUG”) make clear, there is no
                   4 colorable evidence that StarKist Co. (“StarKist”) or Chicken of the Sea (“COSI”)
                   5 are the “agents” or “alter-egos” of their sole shareholders. The purported expert
                   6 report of sociologist Dr. Gary Hamilton cannot create a triable issue because,
                   7                                      he is not an expert on corporate governance and
                   8 he offers no opinion on the issues courts consider in determining whether to
                   9 disregard the corporate form. DWI and TUG nonetheless file this motion because
              10 Dr. Hamilton’s opinions are both offensive and unreliable. They are built on a
              11 foundation of improper character evidence, which invites the jury to make specific
              12 conclusions about StarKist and the “Dongwon Group,”1 and COSI and TUG, based
              13 on generalizations of Asian business culture and Korean and first-generation
              14 Chinese-owned Thai business culture in particular. The fundamental premise of
              15 Dr. Hamilton’s report and his testimony is that
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              21                                                            but Direct Purchaser Plaintiffs
              22 (“DPPs”) offer his testimony in order to suggest that the Court (and ultimately any
              23 trier of fact) should take the highly unusual step of disregarding the corporate
              24 form. It should not.
              25
              26
                       1
              27        The “Dongwon Group” is not a party to this litigation, nor is it a separate
                       corporation.
              28
                                                                       DEFS.’ MEM. OF P. & A. IN SUPP. OF MOT. TO
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                   1         Federal Rule of Evidence 702 permits expert testimony if it “will help the
                   2 trier of fact to understand the evidence or to determine a fact in issue” so long as it
                   3 is based on sufficient facts or data and is the product of reliable principles and
                   4 methods. Fed. R. Evid. 702. And Rule 703 permits experts to base opinions on
                   5 facts or data that would otherwise be inadmissible, so long as “their probative
                   6 value in helping the jury evaluate the opinion substantially outweighs their
                   7 prejudicial effect.” Fed. R. Evid. 703. Here, Dr. Hamilton’s testimony is not the
                   8 product of reliable principles and methods, but rather his subjective
                   9 characterizations of Asian business practices based on cultural and racial
              10 stereotypes of Korean and first-generation Chinese owned-businesses and people.
              11 This is inadmissible under both Rule 403 as unduly prejudicial and Rule 404 as
              12 character evidence to prove conformity therewith. Fed. R. Evid. 403, 404. In the
              13 Ninth Circuit, where an expert relies on impermissible stereotypes, the expert’s
              14 opinion should be excluded as unreliable and unduly prejudicial. See Jinro Am.,
              15 Inc. v. Secure Invs., Inc., 266 F.3d 993, 1010 (9th Cir. 2001) (reversing district
              16 court decision to admit expert testimony about Korean business practices—
              17 “particularly their alleged propensity to engage in fraudulent activity”—because it
              18 was unreliable and unduly prejudicial). Such is the case here.
              19             No court would ever allow expert testimony that people from Korea, China,
              20 or Mexico are “more likely” to commit a certain crime, and therefore an individual
              21 Korean, Chinese, or Mexican defendant is more likely to have committed that
              22 crime. The inferential step at the bottom of Dr. Hamilton’s conclusions is no
              23 different. His opinions are couched in generalizations and stereotypes that clearly
              24 do not belong in a court of law. Generalizations based on national origin and
              25 ethnicity are irrelevant, unduly prejudicial, serve no legitimate purpose, and are an
              26 inappropriate basis for expert opinion. See Bird v. Glacier Elec. Coop., Inc., 255
              27 F.3d 1136, 1151 (9th Cir. 2001) (“Fairness to parties and the need for a fair trial
              28
                                                                       DEFS.’ MEM. OF P. & A. IN SUPP. OF MOT. TO
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                   1 are important not only in criminal but also in civil proceedings, both of which
                   2 require due process. Racial stereotyping cannot be condoned in civil cases.”).
                   3 II.    BACKGROUND SUMMARY OF DR. HAMILTON’S OPINION
                   4        By his own admission,
                   5                                                                Decl. of Elizabeth C.
                   6 Gettinger in Supp. of Mot. to Exclude Testimony of Dr. Gary Hamilton (“Gettinger
                   7 Decl.”) Ex. 1, at 17:19-19:4, 119:2, 205:20-23.
                   8
                   9                                                       Id. Ex. 2, at ¶¶ 3, 5. Dr.
              10 Hamilton purports to apply his knowledge of “Asian businesses” to cherry-picked
              11 documents and testimony regarding the business groups he believes are part of this
              12 case.
              13
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              17                                                  Id. at ¶ 12(B).
              18
              19
              20
              21                                       Id. at ¶ 12(C).
              22                        Id. at ¶¶ 12(A), 12(C).
              23            At his deposition,
              24
              25
              26
              27                                                  Id. Ex. 1, at 111:11-24, 281:6-282:8.
              28
                                                                       DEFS.’ MEM. OF P. & A. IN SUPP. OF MOT. TO
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                   1                         Id. at 108:16-24.                                       . Id. at
                   2 271:7-272:1.
                   3 III.    LEGAL STANDARD
                   4         Rule 702 of the Federal Rules of Evidence provides that “[a] witness who is
                   5 qualified as an expert by knowledge, skill, experience, training, or education may
                   6 testify” as an expert if:
                   7               (a) the expert’s scientific, technical, or other specialized
                                   knowledge will help the trier of fact to understand the
                   8               evidence or to determine a fact in issue;
                   9               (b) the testimony is based on sufficient facts or data;
              10                    (c) the testimony is the product of reliable principles and
                                    methods; and
              11
                                    (d) the expert has reliably applied the principles and
              12                    methods to the facts of the case.
              13 Fed. R. Evid. 702. Trial courts have an important “gatekeeping obligation” to
              14 ensure that expert testimony is both relevant and reliable. See Kumho Tire Co. v.
              15 Carmichael, 526 U.S. 137, 147-49 (1999); see Daubert v. Merrell Dow Pharm.,
              16 Inc., 509 U.S. 579, 597 (1993). The relevance inquiry asks whether “the evidence
              17 will assist the trier of fact to understand or determine a fact in issue.” Cooper v.
              18 Brown, 510 F.3d 870, 942 (9th Cir. 2007). And the reliability inquiry asks whether
              19 the expert opinion has “a reliable basis in the knowledge and experience of [the
              20 relevant] discipline.” Kumho Tire, 526 U.S. at 149 (alteration in original).
              21             Ultimately, the proponent of the evidence bears the burden of proving an
              22 expert’s testimony satisfies Rule 702. See Lust By & Through Lust v. Merrell Dow
              23 Pharm., Inc., 89 F.3d 594, 598 (9th Cir. 1996). Expert testimony should be
              24 excluded under Rule 403 “if its probative value is substantially outweighed by the
              25 danger of unfair prejudice, confusion of the issues, or misleading the jury.”
              26 Daubert, 509 U.S. at 595; see also Jinro Am., Inc., 266 F.3d at 1010 (reversing
              27 district court decision to admit expert testimony about Korean business practices—
              28
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                   1 “particularly their alleged propensity to engage in fraudulent activity”—because it
                   2 was unreliable and unduly prejudicial).
                   3 IV.     ARGUMENT
                   4         A.    Dr. Hamilton’s Opinions Are Not Relevant
                   5         DPPs proffer Dr. Hamilton’s expert report in support of their arguments that
                   6 DWI should be vicariously liable for the actions of its wholly-owned subsidiary,
                   7 StarKist, and that TUG should be similarly liable for the actions of COSI. But his
                   8 opinions are not relevant to a vicarious liability analysis.
                   9               1.     Legal Standard for Vicarious Liability
              10             The burden to prove vicarious liability is high—as it is a “general principle
              11 of corporate law deeply ‘ingrained in our economic and legal systems’ that a parent
              12 corporation . . . is not liable for the acts of its subsidiaries.” United States v.
              13 Bestfoods, 524 U.S. 51, 61 (1998). The strong presumption that a parent company
              14 is not liable for the acts of its subsidiary is overcome only in the rare case where
              15 plaintiffs prove that the subsidiary was the “alter ego” or “agent” of the parent.
              16 Rodriguez v. JP Morgan Chase & Co, 809 F. Supp. 2d 1291, 1299-300 (S.D. Cal.
              17 2011). In their operative complaint, DPPs do not explicitly use the term “alter-
              18 ego” or “agent” regarding DWI or StarKist, but they allege that “Dongwon”
              19 “controlled” and “dominated” StarKist. Fourth Consolidated Direct Purchaser
              20 Class Compl., Oct. 5, 2018, ECF No. 1460 ¶¶ 88, 94. They do use those terms as
              21 to TUG and COSI. Id. ¶¶ 25, 31.
              22             To prove that a subsidiary is the alter ego of its parent, DPPs must show:
              23 “(1) that there is such unity of interest and ownership that the separate personalities
              24 of the two entities no longer exist and (2) that failure to disregard their separate
              25 identities would result in fraud or injustice.” Williams v. Yamaha Motor Co. Ltd.,
              26 851 F.3d 1015, 1021 (9th Cir. 2017). To prove an agency relationship, DPPs must
              27 show: “(1) a manifestation by the principal that the agent shall act for him; (2) that
              28 the agent has accepted the undertaking; and (3) that there is an understanding
                                                                       DEFS.’ MEM. OF P. & A. IN SUPP. OF MOT. TO
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                   1 between the parties that the principal is to be in control of the undertaking.” Sun
                   2 Microsystems Inc. v. Hynix Semiconductor Inc., 608 F. Supp. 2d 1166, 1187–88
                   3 (N.D. Cal. 2009) (citing Restatement (Third) of Agency § 1.01).
                   4         In considering alter ego and agency theories, courts evaluate various factors
                   5 to determine whether there is a “unity of interest” or “control,” including:
                   6 disregard of corporate formalities, lack of segregation of corporate records,
                   7 commingling of funds and other assets of the two entities, use of the same offices
                   8 and employees, identical equitable ownership in the two entities, and identical
                   9 directors and officers. whiteCryption Corp. v. Arxan Tech., Inc., 2016 WL
              10 3275944, at *8 (N.D. Cal. June 15, 2016) (quoting Sonora Diamond Corp. v. Super
              11 Ct. of Tuolumne Cnty., 83 Cal. App. 4th 523, 538-39 (2000)).
              12                   2.     Dr. Hamilton Ignores the Relevant Factors
              13
              14
              15                                                                                  . Gettinger
              16 Decl. Ex. 1, at 109:23-111:1. While Dr. Hamilton’s reticence to offer an opinion
              17 on agency or alter ego directly might be explained as an attempt to avoid offering a
              18 legal opinion, his refusal to consider or opine on any of the factors relevant to the
              19 vicarious analysis inquiry is inexplicable.
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              21
              22                                                      Id. at 175:19-176:2.
              23
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              25                               Id. at 176:3-17.
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                                                                       DEFS.’ MEM. OF P. & A. IN SUPP. OF MOT. TO
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                   1                                Id. at 176:19-24 (emphasis added).
                   2
                   3
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                   6 Id. Ex. 3, at ¶¶ 8, 17.
                   7
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              10
              11                                                            Id. Ex. 2, at ¶ 12(C). While
              12 his conclusory statement regarding corporate governance might go to the ultimate
              13 question of vicarious liability, Dr. Hamilton offers no support for that opinion,
              14 which is entirely divorced from any of the actual factors involved in the vicarious
              15 liability analysis and admittedly outside of his expertise. Further, it is not Dr.
              16 Hamilton’s place to instruct the jury on the ultimate question of vicarious liability.
              17 Such conclusory opinions, when based on inadequately explored legal criteria, are
              18 improper and should be excluded. Andrews v. Metro N. Commuter R. Co., 882
              19 F.2d 705, 709 (2d Cir. 1989) (“Although testimony that embraces an ultimate issue
              20 to be decided by the jury is not inadmissible per se, Fed. R. Evid. 704, it should not
              21 be received if it is based on ‘inadequately explored legal criteria.’”) (citing United
              22 States v. Scop, 846 F.2d 135, 140 (2d Cir. 1988)); Torres v. County of Oakland,
              23 758 F.2d 147, 150 (6th Cir. 1985) (“The problem with testimony containing a legal
              24 conclusion is in conveying the witness’ unexpressed, and perhaps erroneous, legal
              25 standards to the jury.”)
              26                   3.     Dr. Hamilton Relies on Cultural and Racial Stereotypes
              27             Instead of the relevant legal factors, Dr. Hamilton relies on assumptions
              28 based on cultural stereotypes about what is typical of Korean and, in the case of
                                                                      DEFS.’ MEM. OF P. & A. IN SUPP. OF MOT. TO
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                   1 TUG, Chinese family-owned businesses.
                   2
                   3
                   4
                   5                                                                Gettinger Decl. Ex. 2,
                   6 at ¶ 85.
                   7
                   8
                   9
              10                   Id. at ¶ 88; see id. Ex. 3, at ¶¶ 94-95.
              11
              12
              13
              14
              15
              16 Id. Ex. 2, at ¶ 39 n.40.
              17
              18                                                                                     Id.
              19 at ¶ 29.
              20
              21
              22
              23
              24
              25                                                     Id. Ex. 1, at 275:20-276:1.
              26
              27                                             Id. at 289:21-290:1.
              28
                                                                     DEFS.’ MEM. OF P. & A. IN SUPP. OF MOT. TO
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                   1        But these generalizations about Chinese and Korean culture are not relevant
                   2 to any issue before the jury.
                   3
                   4
                   5
                   6                             will not help the jury understand the evidence or
                   7 determine any fact in issue. See Fed. R. Evid. 702. The jury will not be tasked
                   8 with determining whether and how COSI or TUG acted like Chinese-owned
                   9 businesses or StarKist or DWI acted like Korean businesses (and it will not be
              10 tasked with determining anything about the “Dongwon Group”). So testimony
              11 about the ways in which COSI or TUG acted in accordance (or not) with Chinese
              12 custom, or how the “Dongwon Group” or StarKist acted in accordance (or not)
              13 with Korean custom will not aid the jury.
              14            Furthermore, these generalizations are not relevant because they invite an
              15 improper inference that StarKist and DWI or its other affiliates are more likely to
              16 have organized their business in a particular way because that is how Korean
              17 businesses are “typically” organized. The same is true for COSI and TUG. This is
              18 precisely the type of character evidence prohibited by Rule 404. How other
              19 Korean or Chinese-owned businesses typically act is not relevant to answer
              20 questions about the conduct of StarKist and DWI or COSI and TUG.
              21            Finally, Dr. Hamilton’s opinions are not relevant or useful because the fact-
              22 finder need not rely on such generalizations when the underlying evidence is
              23 available for review. The jury (or the Court) can view and interpret that evidence
              24 on its own, consider the factors that Dr. Hamilton ignores, and decide whether
              25 StarKist was the alter ego or agent of DWI, and whether COSI was the alter ego or
              26 agent of TUG. See Anderson News, LLC v. Am. Media, Inc., No. 09-cv-2227
              27 (PAC), 2015 WL 5003528, at *1-2 (S.D.N.Y. Aug. 20, 2015) (excluding testimony
              28 from a Harvard professor in connection with a motion for summary judgment
                                                                     DEFS.’ MEM. OF P. & A. IN SUPP. OF MOT. TO
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 SAN FRANCISCO                                                  9 EXCLUDE TESTIMONY OF DR. GARY HAMILTON
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                   1 where there was “ample, firsthand testimony” and the jury was “more than capable
                   2 of ‘comprehending the primary facts’ and ‘drawing . . . conclusions’ from th[e]
                   3 evidence”) (alteration in original). Subjective and irrelevant cultural observations
                   4 will not aid in that pursuit and, moreover, are unduly prejudicial.
                   5         B.    Dr. Hamilton’s Opinions Are Not Reliable
                   6               1.     Dr. Hamilton Lacks Reliable Principles and Methods
                   7         As discussed above, Dr. Hamilton does not engage in any analysis regarding
                   8 the factors courts typically consider to evaluate vicarious liability claims.
                   9
              10
              11                                                    Gettinger Decl. Ex. 3, at ¶ 38. That is
              12 actually a concession that StarKist’s corporate form was respected and that
              13 StarKist operated as a separate business. Dr. Hamilton likewise does not take issue
              14 with the formalities that COSI and TUG followed. But without engaging on the
              15 relevant legal factors, Dr. Hamilton’s analysis is not tethered to any objective
              16 criteria that would allow the Court to evaluate the reliability of his methods.
              17
              18
              19                                             Id. Ex. 1, at 114:17-116:6.
              20                              By failing to offer any objective criteria of his own, Dr.
              21 Hamilton does not offer any way to evaluate the reliability of his conclusions.
              22 And, of course a parent company “controls” a wholly-owned subsidiary; that is
              23 normal and expected. Id. Ex. 4, at ¶ 22.
              24
              25                                            Id. Ex. 1, at 17:25-18:2; 81:11-17; 205:20-23;
              26 Ex. 3, at ¶ 38
              27
              28
                                                                       DEFS.’ MEM. OF P. & A. IN SUPP. OF MOT. TO
ATTORNEYS AT LAW
 SAN FRANCISCO                                                   10 EXCLUDE TESTIMONY OF DR. GARY HAMILTON
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                   1
                   2                                                       Id. Ex. 2, at ¶ 5. Dr. Hamilton’s
                   3 published works indicate that he has studied multiple Korean business groups—
                   4 which he refers to as “chaebols”—but neither the “Dongwon Group” nor any
                   5 Dongwon-affiliated entity is included in the lists and data sets of groups he has
                   6 considered.2
                   7                          Id. Ex. 1, at 39:1-10. With respect to the Korean business
                   8 groups he has actually studied, Dr. Hamilton engaged in some data analysis to
                   9 calculate various metrics, including the groups’ “internalization,” (the ratio of the
              10 sales to other firms in each group relative to total group sales) and “horizontal
              11 diversification” (by which he means participation in multiple sectors of the
              12 economy).3 At first blush, such objective numerical analysis seems promising—
              13 this might be the kind of reliable analysis which could help the jury understand the
              14 evidence or determine a fact in issue. But regarding the “Dongwon Group,” Dr.
              15 Hamilton does not calculate those metrics or perform statistical or numerical
              16 analysis of any kind. Nor does he perform any such analysis with respect to COSI
              17 and Thai Union.
              18
              19
              20
              21                                                     Id. Ex. 1, at 40:21-41:6.
              22
              23
              24                                                          See id. at 42:17-23.
              25
              26       2
                   See Feenstra and Hamilton, Emergent Economies, Divergent Paths: Economic
                 Organization and International Trade in South Korea and Taiwan, (2007), 122-23,
              27 Fig. 4.1.
              28 3 Id. at 124-27.
                                                                       DEFS.’ MEM. OF P. & A. IN SUPP. OF MOT. TO
ATTORNEYS AT LAW
 SAN FRANCISCO                                                   11 EXCLUDE TESTIMONY OF DR. GARY HAMILTON
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                   1               2.    Dr. Hamilton Plans to Impermissibly and Unreliably Interpret
                   2                     “The Record” for the Jury

                   3        Dr. Hamilton does not consider vicarious liability factors, he does not offer
                   4 his own objective test, and he does not engage in any statistical or numerical
                   5 analysis (as he has in his academic work).
                   6
                   7           Gettinger Decl. Ex. 2, at ¶ 101.
                   8
                   9                                       Id. Ex. 1, at 31:12-17. Dr. Hamilton’s
              10 summary of what “the evidence” shows, however, is limited to the documents and
              11 testimony he considered—which includes only a small fraction of the discovery in
              12 this case, and notably excludes the depositions of several key StarKist witnesses
              13
              14                                                                      See id. at 55:3-21,
              15 91:4-25; Ex. 5, at 12:4-21, 117:9-118:8; Ex. 6, at 20:16-21:13.4 For COSI, Dr.
              16 Hamilton likewise relies almost entirely on a handful of documents cherry-picked
              17 from the many millions of pages produced in discovery. That Dr. Hamilton bases
              18 his testimony on hand-picked evidence is reason enough to exclude it. In re Bextra
              19 & Celebrex Mktg. Sales Practices & Prod. Liab. Litig., 524 F. Supp. 2d 1166,
              20 1176 (N.D. Cal. 2007) (holding that expert who first identified his conclusion and
              21 then selected studies that supported the conclusion while ignoring the weight of
              22 contradictory evidence was inadmissible); Waymo LLC v. Uber Techs., Inc., No.
              23 17-cv-00939-WHA, 2017 WL 5148390, at *4 (N.D. Cal. Nov. 6, 2017) (holding
              24 expert opinion testimony inadmissible where expert demonstrated a “willingness to
              25 stitch together strategic fragments of contradictory evidence” because it
              26
                       4
              27
              28                          . Gettinger Decl. Ex. 3, at ¶¶ 24; 26.
                                                                        DEFS.’ MEM. OF P. & A. IN SUPP. OF MOT. TO
ATTORNEYS AT LAW
 SAN FRANCISCO                                                    12 EXCLUDE TESTIMONY OF DR. GARY HAMILTON
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                   1 “indicate[d] that [the expert] picked facts to suit his conclusions instead of drawing
                   2 conclusions from reliable analysis of the facts.”).
                   3         Even more troubling, Dr. Hamilton makes sweeping proclamations about the
                   4 results of his review of “the record” without evidentiary support, and, at times, in
                   5 direct contradiction of record evidence. For example, he argues that:
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              11
              12 Gettinger Decl. Ex. 2, at ¶ 100. This argument is not supported by evidence, nor is
              13 it the result of the reliable application of any purported “expertise.” Dr. Hamilton
              14 is merely sharing a lay opinion about what he believes. What is more, he does not
              15 accept sworn testimony as true, but rather makes credibility determinations about
              16 fact-witnesses whom he has never even met.
              17
              18
              19
              20                     Id. Ex. 1, at 30:6-12.
              21
              22                                                     Id. at 87:10-14.
              23
              24
              25
              26                Id. Ex. 2, at ¶ 61.
              27       5
              28                                                 , Gettinger Decl. Ex. 2, at ¶ 61,
                                                                       DEFS.’ MEM. OF P. & A. IN SUPP. OF MOT. TO
ATTORNEYS AT LAW
 SAN FRANCISCO                                                   13 EXCLUDE TESTIMONY OF DR. GARY HAMILTON
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                   2                                                                    Id. Ex. 3, at ¶ 62.
                   3         Of course, the evaluation of witness credibility is the province of the jury.
                   4 Palmer v. Valdez, 560 F.3d 965, 972 (9th Cir. 2009) (“Under our system of
                   5 jurisprudence a properly instructed jury of citizens decides whether witnesses are
                   6 credible.”) (McKeown, J., concurring); United States v. Benson, 941 F.2d 598, 604
                   7 (7th Cir. 1991) (“Credibility is not a proper subject for expert testimony; the jury
                   8 does not need an expert to tell it whom to believe, and the expert’s ‘stamp of
                   9 approval’ on a particular witness’ testimony may unduly influence the jury.”).6
              10 That his opinions are based on such credibility determinations is sufficient reason
              11 to exclude Dr. Hamilton’s report. See Benson, 941 F.2d at 604-05.
              12             But Dr. Hamilton’s testimony goes beyond summary and passes into
              13 argument.
              14
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              17                                   Gettinger Decl. Ex. 1, at 282:9-21
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              22                                                     Id. Ex. 1, at 233:1-16.
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              25                                                                Gettinger Decl. Ex.
                 3, at ¶¶ 24, 26. This demonstrates another danger of an expert witness deputized as
              26 a fact-finder; Dr. Hamilton does not appear to understand that a Rule 30(b)(6)
                 witness testifies on behalf of an organization about information known or
              27 reasonably available to the organization. Fed. R. Civ. P. 30(b)(6). It is nonsensical
                 to discredit such testimony because it is not based on the witness’s “personal
              28 knowledge.”
                                                                       DEFS.’ MEM. OF P. & A. IN SUPP. OF MOT. TO
ATTORNEYS AT LAW
 SAN FRANCISCO                                                   14 EXCLUDE TESTIMONY OF DR. GARY HAMILTON
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                   1                              Id. Ex. 2, at ¶ 100-46.7 He makes no real effort to bring
                   2 any sort of reliable method or expertise to bear on the facts he recites—the
                   3 narration is nothing more than DPPs’ arguments about a curated selection of the
                   4 evidence in the guise of expert opinion. Expert testimony that “rehashes otherwise
                   5 admissible evidence about which he has no personal knowledge . . . is
                   6 inadmissible.” Johns v. Bayer Corp., No. 09CV1935 AJB DHB, 2013 WL
                   7 1498965, at *28 (S.D. Cal. Apr. 10, 2013) (citing Highland Capital Mgmt., L.P. v.
                   8 Schneider, 379 F. Supp. 2d 461, 468 (S.D.N.Y. 2005) (“[A]n expert cannot be
                   9 presented to the jury solely for the purpose of constructing a factual narrative based
              10 upon record evidence.”); see S.E.C. v. Daifotis, No. 11-cv-00137 WHA, 2012 WL
              11 2051193, at *1 (N.D. Cal. June 7, 2012) (“[W]here the expert does little more than
              12 read depositions and deposition exhibits and other such materials, and then
              13 proposes to render findings to the jury as to what happened, [courts] should draw
              14 the line and bar such testimony . . . .”); see also Anderson News, LLC 2015 WL
              15 5003528, at *1-2. Dr. Hamilton is no expert in document interpretation or witness
              16 credibility. The Court should reject his attempt to usurp the role of the jury.8
              17                   3.     Without Racial Stereotypes, Dr. Hamilton’s Opinions Are Not
                                          Probative of Anything
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              19
              20
              21                             See Gettinger Decl. Ex. 1, at 274:18-22. The only potential
              22 value of informing the jury when and in what way DWI or StarKist acts as Korean
              23
              24       7

              25
                                         Gettinger Decl. Ex. 3, at ¶ 21.
              26                                                     . Id. at ¶ 16.
              27 8 Because several other experts proffered by various Plaintiffs suffer from similar
                 infirmities, Defendants contemporaneously filed a Notice of Motion and Motion to
              28 Exclude Improper Opinions of Plaintiffs’ Economists.
                                                                       DEFS.’ MEM. OF P. & A. IN SUPP. OF MOT. TO
ATTORNEYS AT LAW
 SAN FRANCISCO                                                   15 EXCLUDE TESTIMONY OF DR. GARY HAMILTON
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                   1 companies typically do is if both (1) there is something predictable or informative
                   2 about how Korean companies typically act; and (2) that predictable thing is
                   3 relevant to the vicarious liability analysis. But if Dr. Hamilton actually made that
                   4 kind of statement—that Korean or Chinese-owned Thai companies typically do
                   5 something that is relevant to vicarious liability—it would amount to testimony that
                   6 Korean and Chinese-owned Thai companies have a propensity to disregard the
                   7 corporate form.
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              16 Gettinger Decl. Ex. 1, at 107:7-22 (objection omitted).
              17             Dr. Hamilton cannot have it both ways.
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              19
              20
              21
              22                                             See e.g., Gettinger Decl. Ex. 3, at ¶¶ 91-101.
              23
              24
              25
              26
              27                              Id. at ¶ 42.
              28
                                                                           DEFS.’ MEM. OF P. & A. IN SUPP. OF MOT. TO
ATTORNEYS AT LAW
 SAN FRANCISCO                                                       16 EXCLUDE TESTIMONY OF DR. GARY HAMILTON
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                   2
                   3       —a “sham corporate entity formed for the purpose of committing fraud or
                   4 other misdeeds.” Hall-Magner Grp. v. Firsten, No. 11-CV-312 JLS (POR), 2011
                   5 WL 5036027, at *3 (S.D. Cal. Oct. 24, 2011) (Sammartino, J.) (quoting Sonora
                   6 Diamond Corp. v. Super. Ct., 83 Cal. App. 4th 523, 99 (2000)). This cannot stand.
                   7 V.      CONCLUSION
                   8         For the reasons described above, Dr. Hamilton’s reports and testimony are
                   9 not relevant or reliable. They reflect improper cultural and racial stereotypes that
              10 are unduly prejudicial and unhelpful to the jury. Defendants respectfully request
              11 an order excluding the opinions and testimony of Dr. Gary G. Hamilton.
              12
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              27
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ATTORNEYS AT LAW
 SAN FRANCISCO                                                  17 EXCLUDE TESTIMONY OF DR. GARY HAMILTON
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              16                               and Thai Union Group PCL
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                                                        DEFS.’ MEM. OF P. & A. IN SUPP. OF MOT. TO
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 SAN FRANCISCO                                    18 EXCLUDE TESTIMONY OF DR. GARY HAMILTON
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                   1                           SIGNATURE ATTESTATION
                   2        Under Section 2.F.4 of the Court’s CM/ECF Administrative Policies, I
                   3 hereby certify that authorization for filing this document has been obtained from
                   4 each of the other signatories shown above, and that all signatories have authorized
                   5 placement of their electronic signature on this document.
                   6
                   7 Dated: September 19, 2019              By: s/ Christopher S. Yates
                   8
                   9                                        Counsel for Defendant
                                                            Dongwon Industries Co., Ltd.
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